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 4
     Attorney for: GLEN OWENS
 5
 6                        UNITED STATES DISTRICT COURT
 7                       CENTRAL DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,  )
 9                              )          CASE NO: CR-00-1220 SVW
              Plaintiff,        )
10                              )
             -vs-               )          DEFENDANT OWENS’ POSITION
11                              )          RE: HIS MOTION FOR SENTENCE
     GLEN OWENS,                )          REDUCTION BASED ON “CRACK”
12                              )          GUIDELINES
              Defendant,        )
13   ___________________________/
14         Defendant Glen Owens hereby submits his position regarding
15   his   “crack”-re-sentencing      motion.        Defendant    agrees   with
16   everything stated in the government’s position brief and requests
17   the court issue an Amended Judgment and Commitment Order re-
18   sentencing him to 120 months, all other terms in the original
19   judgment commitment order to remain the same.           Defendant waives
20   his presence at a re-sentencing hearing and requests the court
21   issue the amended “J and C” as soon as possible, as defendant
22   could be eligible for release as early as November 2008, should
23   the BOP receive the amended J and C within the next two months.
24
25   Dated: June 7, 2008            Respectfully submitted,
26                                  Efile signature: David Reed
27                                  ______________________________
28                                  David R. Reed for Mr. Owens

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 1                                    PROOF OF SERVICE
 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:
 3         I    am    employed   in    the   County   of   Los   Angeles   State   of
 4   California.
 5                   I am over the age of 18 and not a party to the within
 6   action; my business address is The Law Office of David R. Reed,
 7   8530 Wilshire Blvd. Ste. 404, Beverly Hills, California 90211.
 8         On June 7, 2008, I served the following documents described
 9   as:
10               Defendant’s position re “crack” re sentencing
11             On interested parties in this action by placing a true copy
12   thereof which was enclosed in a sealed envelope addressed as
13   follows:
14
        Lamar Baker
15      AUSA
        312 N. Spring St.
16      L.A., Ca. 90012

17
               I deposited such envelopes in the mail at Los Angeles,
18   Ca. The envelopes were mailed with postage thereon fully prepaid.
19
               I am employed in the office of an attorney admitted to
20   the bar of this Court at whose direction the service was made.

21                   Executed this 6/7, 2008 at Los Angeles, Ca.
22
                                               David R. Reed efile sig
23
                                               ________________________
24                                             DAVID R. REED

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